              Case 2:10-cr-00585-JCM-BNW               Document 93        Filed 03/02/12          Page 1 of 1



      1                                                                                   FILE
     2                                                                                    * -1 2912
     3
                                                                                CLERK,u.s,olsmnlcr counr
     4                                                                             Dlso lcT o: NevAoA
                                                                           BY                             x euw
     5

     6                           UN IT ED STAT ES D ISTR ICT C O U R T
                                        D ISTR ICT O F NEV A DA
     7
           UNITED STATES OF AM ERICA,                           )
     8                                                          )
                            Plaintiff,                          )
     9                                                          )
                v.                                              )         2:10-CR-585-RLH (PAL)
    10                                                          )
       JORGE MONTES,                                            )
    11 a,k.a.Jaime,a,k.a.Camotes,                               )
                                                                )
    l2                      Detkndant.                          )
    13                                   O RD ER O F FO RFEITU RE
    14         ThisCourtfound on October21,201l,thatJORGE M ONTES,avk.a.Jaime,a.k.a.Cam otes,

    15 shallpayacriminalforfeituremoneyjudgmentof$9,400.00inUnitedStatesCurrency,pursuantto
    16 Fed.R.Crim.P.32.2(b)(1)and(2)4andTitle21,United StatesCode,Section853(a)(l). Docket
    l7 //78,//79,#80.

    18         THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thattheUnitcd
    19 Statesrecoverfrom JORGE M ONTES,a.k.a.Jaime,a.k.a.Camotes,a crim inalforfeiture money

    20 judgmentin the amountof$9,400.00 in United StatesCurrency pursuantto Fed.R.Crim.P,
    21 32.2(b)(4)(A)and (B);andTitle21,UnitedStatesCode,Section 853(a)(1).
    22         DA TED this (;X   dayof           X'
                                                  X- V                ,201
                                                                         2.
    :2:5                                                 t                        .----     ,'-
    24                                             'zz-.. ty2'
                                            c.- ....                            ... . .-'-'
                                                                                   .


                                                       1..
                                                         1N 1       S'A TES D IST CT JUD G
    25

    26


I

i
i
